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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                                 LONDON DIVISION

IN RE:

LARRY DAVID ESTELLE
SARA LOUISE SKAGGS

DEBTOR(S)                                                              CASE NO. 19-60216


                            TRUSTEE’S REPORT AND
                      RECOMMENDATION AS TO CONFIRMATION


Confirmation: NOT RECOMMENDED.

       1.      There is a pending objection to confirmation of the plan filed by Capital One.

Any changes in valuation of collateral, interest rate, or treatment of secured claims required to

resolve the objection might affect feasibility of the plan.


            Respectfully submitted by:         Beverly M. Burden, Chapter 13 Trustee

                                               By:     /s/Michael E. Litzinger
                                                       Michael E. Litzinger,
                                                       Attorney for Trustee
                                                       KY Bar ID: 82898
                                                       P.O. Box 2204
                                                       Lexington, KY 40588-2204
                                                       (859) 233-1527
                                                       notices@ch13edky.com


                                       CERTIFICATE OF SERVICE

       I hereby certify that on the April 9, 2019, I served a copy of the forgoing by regular U.S.

mail, postage prepaid, or via EM/ECF electronic service upon the following:


 JESSE D. PEACE                                      All other parties requesting electronic notice
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                                     By:    /s/Michael E. Litzinger
                                            Michael E. Litzinger,
                                            Attorney for Trustee




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